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12
                                   UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14
     MARIA DE LA LUZ BAUTISTA-PEREZ, LUZ )              Case No. 4:20-cv-01613-HSG
     PEREZ BAUTISTA and SALVADORA                   )
15
     CORREA, on behalf of themselves and all others )   STIPULATION AND ORDER SETTING
                                                    )
16   similarly situated,                            )   DEADLINE FOR BRIEFING ON JUUL
                                                    )   LABS, INC. AND COALITION FOR
17                 Plaintiffs,                      )   REASONABLE VAPING
                                                    )   REGULATION’S MOTIONS TO
18                                                  )
       v.                                               DISMISS THE SECOND AMENDED
                                                    )   COMPLAINT
19                                                  )
     JUUL LABS, INC., COALITION FOR
                                                    )
20   REASONABLE VAPING REGULATION,                  )
     LONG YING INTERNATIONAL, INC.,                 )
21   DAVID M. HO, and DOES 1-10 inclusive,          )   Hon. Haywood S. Gilliam, Jr.
                                                    )   Action Filed: March 4, 2020
22                                                  )
                   Defendants.                          Trial Date: None Set
                                                    )
23                                                  )
24                                                  )

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         STIPULATION AND ORDER RE BRIEFING SCHEDULED FOR DEFTS MOTIONS TO DISMISS SAC
        Case 4:20-cv-01613-HSG Document 107 Filed 02/10/21 Page 2 of 4




 1          Plaintiffs Maria De La Luz Perez Bautista, Luz Perez Bautista, and Salvadora Correa

 2   (“Plaintiffs”) and Defendants Juul Labs, Inc., Coalition for Reasonable Vaping Regulation, Long

 3   Ying International, Inc., and David M. Ho (“Defendants”) (collectively, the “Parties”) hereby

 4   stipulate as follows:

 5                                               RECITALS

 6          WHEREAS, on January 14, 2021, Plaintiffs filed the Second Amended Complaint (“SAC”)
 7   [Dkt. 99];
 8          WHEREAS, on January 19, 2021, Plaintiffs filed a corrected version of the SAC
 9   (“Corrected SAC”) (Dkt. 100);
10          WHEREAS the Parties stipulated on January 22, 2021 that any Defendants filing or joining
11   in Rule 12 motions could do so by February 2, 2021;
12          WHEREAS the Court approved that stipulation on January 25, 2021;
13          WHEREAS Defendants the Coalition for Reasonable Vaping Regulation and Juul Labs,
14   Inc. filed motions to dismiss the Second Amended Complaint on February 2, 2021;
15          WHEREAS, the motions to dismiss are calendared to be heard on April 29, 2021;
16          WHEREAS, counsel for Plaintiffs had scheduled a vacation around the President’s Day
17   holiday;
18          WHEREAS, these stipulations are made in the interest of efficiency and judicial economy.
19          STIPULATION
20          THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the
21   undersigned parties, through their undersigned counsel:
22          1.      Plaintiffs’ deadline to file opposition papers to the motions to dismiss the Second
23                  Amended Complaint shall be extended by one week, until February 23, 2021;
24          2.      Defendants’ deadline to submit any reply to Plaintiffs’ opposition papers is
25                  extended to March 9, 2021.
26   DATED: February 8, 2021                      LEONARD CARDER LLP
27
                                                  By: /s/ Aaron D. Kaufmann
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                                                       1
         STIPULATION AND ORDER RE BRIEFING SCHEDULED FOR DEFTS MOTIONS TO DISMISS SAC
        Case 4:20-cv-01613-HSG Document 107 Filed 02/10/21 Page 3 of 4




                                                          AARON D. KAUFMANN
 1

 2                                                        GEORGE WARNER
                                                          Legal Aid at Work
 3                                                        Attorneys for Plaintiffs Maria De La Luz Perez
 4                                                        Bautista, Luz Perez Bautista and Salvadora
                                                          Correa
 5
     DATED: February __, 2021                     FOLEY & LARDNER LLP
 6
                                                  By: /s/ Eileen R. Ridley
 7                                                       EILEEN R. RIDLEY
 8                                                    Attorneys for Juul Labs, Inc.
 9   DATED: February __, 2021                     THE SUTTON LAW FIRM
10
                                                  By: /s/ Bradley W. Hertz
11                                                       BRADLEY W. HERTZ

12                                                    Attorneys for the Coalition for
                                                      Reasonable Vaping Regulation
13
     DATED: February __, 2021                     PRATHER LAW OFFICES
14
                                                  By: /s/ Sybil L. Renick
15                                                       SYBIL L. RENICK
16                                                    Attorneys for David Ho & Long Ying
                                                      International, Inc.
17

18

19                         SIGNATURE ATTESTATION Local Rule 5-1(i)(3)
20          I, Aaron Kaufmann, attest that the other signatories to this document concur in the filing of
21   this document.
                                                   /s/ Aaron D. Kaufmann
22                                                       Aaron D. Kaufmann
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         STIPULATION AND ORDER RE BRIEFING SCHEDULED FOR DEFTS MOTIONS TO DISMISS SAC
        Case 4:20-cv-01613-HSG Document 107 Filed 02/10/21 Page 4 of 4




 1                                        ORDER

 2          Upon consideration of the stipulation filed by the Parties, IT IS HEREBY ORDERED as

 3   follows:

 4              1. Plaintiffs’ deadline to file opposition papers to the motions to dismiss the Second
 5              Amended Complaint shall be extended by one week, until February 23, 2021;
 6              2. Defendants’ deadline to submit any reply to Plaintiffs’ opposition papers is
 7              extended to March 9, 2021.
 8   IT IS SO ORDERED.

 9   DATED: 2/10/2021
                                                  HAYWOOD S. GILLIAM, JR.
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                                                  United States District Court Judge
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         STIPULATION AND ORDER RE BRIEFING SCHEDULED FOR DEFTS MOTIONS TO DISMISS SAC
